              Case
     Fill in this      23-70311-JAD
                  information                   Doc 1
                              to identify your case:       Filed 09/08/23 Entered 09/08/23 15:28:53                              Desc Main
                                                           Document     Page 1 of 51
     United States Bankruptcy Court for the:

     ____________________
     Western               District of _________________
              District of Pennsylvania (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                              
                                                              ✔ Chapter 11
                                                               Chapter 12                                                               Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Muellers  Auto Recycling & Sales, Inc.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          Muellers  Scrap & Metal Division, Inc.
                                           ______________________________________________________________________________________________________
      in the last 8 years                  1555  Mill Run Road, LLC
                                           ______________________________________________________________________________________________________
                                           Muellers  Auto Sales, Inc.; Muellers Auto Sales Limited Partnership
                                           ______________________________________________________________________________________________________
      Include any assumed names,
      trade names, and doing business
                                           John  R. Mueller and Beverly L. Mueller
                                           ______________________________________________________________________________________________________
      as names                             ______________________________________________________________________________________________________
                                           Johnny's   U Pull It



3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               1555 Mill Run Road                                       _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Altoona                       PA    16601
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Blair County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 23-70311-JAD             Doc 1         Filed 09/08/23 Entered 09/08/23 15:28:53                              Desc Main
                                                         Document     Page 2 of 51
                Muellers Auto Recycling & Sales, Inc.
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                             _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
         Case 23-70311-JAD                     Doc 1      Filed 09/08/23 Entered 09/08/23 15:28:53                               Desc Main
                                                          Document     Page 3 of 51
               Muellers Auto Recycling & Sales, Inc.
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99
                                           ✔
                                                                             5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
         Case 23-70311-JAD                   Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53                                 Desc Main
                                                         Document     Page 4 of 51
             Muellers Auto Recycling & Sales, Inc.
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million
                                                                                 ✔
                                                                                                                        $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            09/08/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ John R. Mueller
                                             _____________________________________________               John R. Mueller
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    President
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ James R. Huff, II
                                             _____________________________________________              Date         09/08/2023
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              James R. Huff, II
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Forr, Stokan, Huff, Kormanski & Naugle
                                             _________________________________________________________________________________________________
                                             Firm name
                                              1701 5th Ave
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Altoona
                                             ____________________________________________________             PA            16602
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              (814) 946-4316
                                             ____________________________________                              jhuff@sfshlaw.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              33270                                                           PA
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
               Case 23-70311-JAD                                    Doc 1             Filed 09/08/23 Entered 09/08/23 15:28:53                                                                     Desc Main
                                                                                      Document     Page 5 of 51

 Fill in this information to identify the case:

                Muellers Auto Recycling & Sales, Inc.
  Debtor name _________________________________________________________________

                                          Western District of Pennsylvania
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                        2,525,000.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         673,675.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         3,198,675.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        4,780,279.14
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                          163,909.54
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          467,779.55



4. Total liabilities ...........................................................................................................................................................................        5,411,968.23
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              Case 23-70311-JAD                    Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53                              Desc Main
                                                               Document     Page 6 of 51
      Fill in this information to identify the case:

                    Muellers Auto Recycling & Sales, Inc.
      Debtor name __________________________________________________________________

                                              Western District of Pennsylvania
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                         Check if this is an
      Case number (If known):      _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code        and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                             professional        unliquidated, total claim amount and deduction for value of
                                                                             services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                  Total claim, if   Deduction for      Unsecured
                                                                                                                  partially         value of           claim
                                                                                                                  secured           collateral or
                                                                                                                                    setoff
     Internal Revenue Service                                              Taxes & Other
1    P.O. Box 7346                                                         Government Units
     Philadelphia, PA, 19101
                                                                                                                                                      117,068.99


     John and Beverly Mueller                                              Monies Loaned /
2    37696 Ulster Drive                                                    Advanced
     Rehoboth Beach, DE, 19971
                                                                                                                                                      100,000.00


     Earthmovers Unlimited, Inc.                                           Suppliers or Vendors
3    930 Old State Route 53
     Kylertown, PA, 16847
                                                                                                                                                      58,000.00


     Cynthia A. Yeager, Esquire                                            Services
4    701 Logan Boulevard
     Altoona, PA, 16602                                                                                                                               53,270.62


     Rutters Fuel                                                          Fuel
5    1099 Haines Road
     York, PA, 17402                                                                                                                                  51,048.00


     Pennsylvania Department of Revenue                                    Taxes & Other
6    P.O. Box 280431                                                       Government Units
     Harrisburg, PA, 17128-0431                                                                                                                       21,433.42


     Reco Equipment                                                        Suppliers or Vendors
7    41245 Reco Road
     Belmont, OH, 43718                                                                                                                               19,234.90


     Staimans Recycling Corp.                                              Suppliers or Vendors
8    201 Hepburn Street
                                                                                                                                                      18,500.00
     Williamsport, PA, 17701




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
              Case 23-70311-JAD                   Doc 1      Filed 09/08/23 Entered 09/08/23 15:28:53                               Desc Main
                                                             Document     Page 7 of 51
                    Muellers Auto Recycling & Sales, Inc.
    Debtor         _______________________________________________________                       Case number (if known)_____________________________________
                   Name




     Name of creditor and complete             Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                            professional        unliquidated, total claim amount and deduction for value of
                                                                            services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                 Total claim, if   Deduction for      Unsecured
                                                                                                                 partially         value of           claim
                                                                                                                 secured           collateral or
                                                                                                                                   setoff
     Discover                                                             Suppliers or Vendors
9    P.O. Box 70176
     Philadelphia, PA, 19176                                                                                                                         18,042.61


     Clarence LLC/Slates Salvage LLC                                      Rent
10 22380 Waterfall Road
                                                                                                                                                     13,152.00
     Three Springs, PA, 17264


     Electric Motor & Supply, Inc.                                        Suppliers or Vendors
11 1000 50th Streeet
     Altoona, PA, 16601                                                                                                                              12,892.80


     Saleme Insurance Services                                            General Liability
12 1409 11th Avenue                                                       Insurance
     Altoona, PA, 16601                                                                                                                              12,816.34



     Good Tire Service                                                    Suppliers or Vendors
13 13616 State Route 422
     Kittanning, PA, 16201                                                                                                                           11,961.69


     AASD Tax Office                                                      Taxes & Other
14 1201 8th Avenue                                                        Government Units
     Altoona, PA, 16602                                                                                                                              8,507.16


     Matheson Valley Gases                                                Suppliers or Vendors
15 1004 N. Fourth Avenue, Juniata
     Altoona, PA, 16601
                                                                                                                                                     8,296.01


     Blair County Tax Claim Bureau                                        Taxes & Other
16 423 Allegheny Street, Ste. 143                                         Government Units
     Hollidaysburg, PA, 16648                                                                                                                        8,202.22


     Chuck's PRP-NE Douglassville                                         Suppliers or Vendors
17 6867 Boyertown Pike
     Douglassville, PA, 19518
                                                                                                                                                     7,600.00


     Kegerreis Outdoor Advertising                                        Advertising
18 162 Farm Circle Drive
     Chambersburg, PA, 17201                                                                                                                         7,561.50


     Reilly, Creppage & Co., Inc.                                         Accounting Services
19 601 Valley View Blvd.
     Altoona, PA, 16602
                                                                                                                                                     6,500.00


     Cunningham Bros. Auto Parts                                          Suppliers or Vendors
20 10980 Wards Road
     Rustburg, VA, 24588                                                                                                                             6,100.00




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
            Case 23-70311-JAD                          Doc 1   Filed 09/08/23 Entered 09/08/23 15:28:53                          Desc Main
                                                               Document     Page 8 of 51
  Fill in this information to identify the case:

               Muellers Auto Recycling & Sales, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Western District of Pennsylvania
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
          ARC Federal Credit Union
    3.1. _________________________________________________  Checking
                                                           ______________________              0
                                                                                               ____  9
                                                                                                    ____ 0
                                                                                                         ____ 2
                                                                                                              ____               $______________________
                                                                                                                                   5,000.00
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 7,400.00
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 12,400.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    ✔


    Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                              page 1
            Case 23-70311-JAD                     Doc 1     Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
Debtor           Muellers Auto Recycling & Sales, Inc.      Document
                _______________________________________________________  Page 9 of 51
                                                                                   Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
            Case 23-70311-JAD                   Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
                Muellers Auto Recycling & Sales, Inc.
Debtor                                                     Document
               _______________________________________________________   Page 10 of Case
                                                                                     51 number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                              Date of the last         Net book value of        Valuation method used      Current value of
                                                       physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
      No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used      Current value of debtor’s
                                                                                debtor's interest        for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                  page 3
            Case 23-70311-JAD                   Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
Debtor
                Muellers Auto Recycling & Sales, Inc.      Document
               _______________________________________________________   Page 11 of Case
                                                                                     51 number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Office furnishings - Mueller's Auto Recycling & Sales
                                                                                  $________________   ____________________       2,700.00
                                                                                                                               $______________________
40. Office fixtures
Office furnishings - Metal and Scrap yard
                                                                                  $________________   ____________________       2,600.00
                                                                                                                               $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
Office furnishings - Johnny's U Pull It                                                                                          2,500.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 7,800.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
            Case 23-70311-JAD                  Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
                 Muellers Auto Recycling & Sales, Inc.
 Debtor                                                   Document
                _______________________________________________________ Page 12 of Case
                                                                                    51 number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          1999 GMC 6500 Series with mechanics body                                                                        8,000.00
    47.1___________________________________________________________         $________________    ____________________   $______________________
          2005 Diamond Reo Tandem flat bed with 60' boom                                                                  15,000.00
    47.2___________________________________________________________         $________________    ____________________   $______________________
          1999 Kenworth Tractor/Tandem Axle                                                                               25,000.00
    47.3___________________________________________________________         $________________    ____________________   $______________________
          See continuation sheet                                             30,000.00                                    92,000.00
    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             0.00                                         513,475.00
    ______________________________________________________________         $________________     ____________________   $______________________


51. Total of Part 8.                                                                                                      653,475.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔ No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
             Case  23-70311-JAD Doc 1
               Muellers Auto Recycling & Sales, Inc.
                                                                Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
 Debtor                                                        Document
                  _______________________________________________________    Page 13 of Case
                                                                                         51 number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       37696 Ulster Drive, Ste 2                               Fee Simple
55.1
       Rehoboth Beach, DE 19971
                                                                                                                                    525,000.00
                                                                                     $_______________     ____________________     $_____________________
       1555 Mill Run Road
55.2
       Altoona, PA 16601
                                                                                                                                    1,500,000.00
                                                                                     $_______________     ____________________     $_____________________
       618 Ensbrenner Drive                                   Fee Simple
55.3 Altoona, PA 16601
                                                                                                                                    500,000.00
                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                2,525,000.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔ No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔ No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
            Case 23-70311-JAD                           Doc 1    Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
Debtor            Muellers Auto Recycling & Sales, Inc.         Document
                 _______________________________________________________      Page 14 of Case
                                                                                          51 number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
      ✔


     Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                         _______________ –   __________________________         =   $_____________________
     ______________________________________________________
                                                                         Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                             Schedule A/B: Assets  Real and Personal Property                               page 7
              Case 23-70311-JAD                          Doc 1          Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
                   Muellers Auto Recycling & Sales, Inc.
Debtor                                                                 Document
                  _______________________________________________________            Page 15 of Case
                                                                                                 51 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         12,400.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         7,800.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         653,475.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            2,525,000.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         673,675.00                        2,525,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  3,198,675.00                                                                                   3,198,675.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
            Case 23-70311-JAD                    Doc 1           Filed 09/08/23 Entered 09/08/23 15:28:53                Desc Main
                Muellers Auto Recycling & Sales, Inc.           Document      Page 16 of 51
 Debtor 1                                                                  _                  Case number (if known)
               First Name     Middle Name           Last Name



                                                        Continuation Sheet for Official Form 206 A/B

3) Checking, savings, money market, or financial brokerage accounts

First Summit Bank                               Checking                                  5582

Balance: 5,400.00

First National Bank                             Checking

Balance: 2,000.00


47) Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

1999 Montane Dump                                                                                           20,000.00
trailer Steel 38'

1995 GMC Bucket                                                                                             8,000.00
Truck 6500 Series
w/boom

Fuso Dump Truck                                                                                             16,000.00
with gravel
spreader

2006 Ford F650                                                                                              10,000.00
rollback truck

1998 Mack Midliner                                                                                          8,000.00
rollback truck

2019 Mercedes                        30,000.00                                                              30,000.00


50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

Hyundai wheel                                                                                               12,000.00
loader

3 Forklifts                                                                                                 15,000.00

Komatsu track                                                                                               75,000.00
excavator with
shear

Linkbelt LS4800                                                                                             25,000.00
track excavator

Hitachi Track                                                                                               125,000.00
excavator with claw

Track loader cat                                                                                            20,000.00

Linkbelt LS4800                                                                                             20,000.00
track excavator

AlJon 400 XL shed                                                                                           100,000.00
logger

Prentice log                                                                                                12,000.00




Official Form 206 A/B                                                    Schedule A/B: Property
            Case 23-70311-JAD                    Doc 1           Filed 09/08/23 Entered 09/08/23 15:28:53               Desc Main
                Muellers Auto Recycling & Sales, Inc.           Document      Page 17 of 51
 Debtor 1                                                                  _                  Case number (if known)
               First Name     Middle Name           Last Name



                                                        Continuation Sheet for Official Form 206 A/B
loader mounted on
53' trailer

Portable generator                                                                                          500.00
110V

Track excavator cat                                                                                         6,000.00

2 air compressors                                                                                           1,000.00

Generator 110/220                                                                                           5,000.00
v Cummings 250
engine

3 work benches                                                                                              300.00

Chain hoist                                                                                                 5,000.00

Brechbuhler 50 ton                                                                                          25,000.00
truck scales

Two 30-yard                                                                                                 6,000.00
containers

Engine lift                                                                                                 100.00

5 vehicle lifts                                                                                             5,000.00

Nineteen -                                                                                                  38,000.00
20-yard containers

Impact wrenches                                                                                             200.00

Tire machine                                                                                                500.00

Buffer                                                                                                      50.00

50' air hoses                                                                                               10.00

Ingersol Rand Air                                                                                           1,000.00
Compressor

Impact wrenches                                                                                             100.00

Can baler                                                                                                   1,000.00

Baler down stroke                                                                                           3,000.00

Liquid oxygen                                                                                               200.00

Body saw                                                                                                    100.00

Tank 2000 gallon                                                                                            3,000.00

100 lb. propane                                                                                             300.00
tank (6)

Tire Machine                                                                                                1,000.00

Diesel fuel tank                                                                                            2,000.00




Official Form 206 A/B                                                    Schedule A/B: Property
            Case 23-70311-JAD                    Doc 1           Filed 09/08/23 Entered 09/08/23 15:28:53              Desc Main
                Muellers Auto Recycling & Sales, Inc.           Document      Page 18 of 51
 Debtor 1                                                                  _                  Case number (if known)
               First Name     Middle Name           Last Name



                                                        Continuation Sheet for Official Form 206 A/B

Diesel fuel tank                                                                                            5,000.00

25 lb.      propane                                                                                         15.00
tank

2 Battery chargers                                                                                          100.00




Official Form 206 A/B                                                    Schedule A/B: Property
              Case 23-70311-JAD                           Doc 1      Filed 09/08/23 Entered 09/08/23 15:28:53                                    Desc Main
                                                                    Document      Page 19 of 51
  Fill in this information to identify the case:
              Muellers Auto Recycling & Sales, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Western  District of Pennsylvania

  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim
     Ameriserve                                                  Track excavator cat
      __________________________________________                                                                                 48,460.78
                                                                                                                               $__________________          6,000.00
                                                                                                                                                          $_________________

     Creditor’s mailing address

      216 Franklin Street
      ________________________________________________________
      P.O. Box 520, Johnstown, PA 15907
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            3/30/22
                                     __________________          
                                                                 ✔ No

    Last 4 digits of account                                      Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                 No
    same property?                                               
                                                                 ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     First Summit Bank
                                                                 618 Ensbrenner Drive                                          $__________________
                                                                                                                                592,366.59                $_________________
                                                                                                                                                           2,525,000.00
      __________________________________________                 Altoona, PA 16601, 37696 Ulster Drive,
     Creditor’s mailing address                                  Ste 2
      125 Donald Lane
      ________________________________________________________   Rehoboth Beach, DE 19971, 1555 Mill Run
      Johnstown, PA
      ________________________________________________________   Road
                                                                 Altoona, PA 16601
    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made
                                                                  _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔ No
    same property?                                                Yes
     No                                                         Is anyone else liable on this claim?
    
    ✔ Yes. Have you already specified the relative
                                                                  No
           priority?
                                                                 
                                                                 ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
    First Summit Bank, 1st; First                                Check all that apply.
    Summit Bank, 1st; First Summit                                Contingent
    Bank,  1st;The
        Yes.   First  Summit
                   relative priority ofBank,
                                        creditors1st;
                                                  is              Unliquidated
                   specified on lines _____                       Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  4,780,279.14
                                                                                                                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        7
                                                                                                                                                            page 1 of ___
               Case   23-70311-JAD Doc 1
                Muellers Auto Recycling & Sales, Inc.
                                                                    Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor            _______________________________________________________
                                                                   Document      Page 20 of Case
                                                                                             51 number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     First Summit Bank
                                                                618 Ensbrenner Drive
     __________________________________________                 Altoona, PA 16601, 37696 Ulster Drive,                         937,126.45
                                                                                                                              $__________________      2,525,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address                                 Ste 2
                                                                Rehoboth Beach, DE 19971, 1555 Mill Run
     125 Donald Lane
     ________________________________________________________
                                                                Road
     Johnstown, PA
     ________________________________________________________
                                                                Altoona, PA 16601

    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ■
             Yes. The relative priority of creditors is          Unliquidated
                                      2.2
                 specified on lines _____                        Disputed

2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     First Summit Bank
                                                                618 Ensbrenner Drive
                                                                Altoona, PA 16601, 37696 Ulster Drive,
     __________________________________________                                                                                971,366.36
                                                                                                                              $__________________       2,525,000.00
                                                                                                                                                      $_________________
                                                                Ste 2
     Creditor’s mailing address                                 Rehoboth Beach, DE 19971, 1555 Mill Run
                                                                Road
      125 Donald Lane
     ________________________________________________________   Altoona, PA 16601
      Johnstown, PA
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                 Unliquidated
                 specified on lines _____
                                     2.2                         Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
                                                                                                                                                               2 of ___
                                                                                                                                                                     7
               Case   23-70311-JAD Doc 1
                Muellers Auto Recycling & Sales, Inc.
                                                                    Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor            _______________________________________________________
                                                                   Document      Page 21 of Case
                                                                                             51 number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     First Summit Bank
                                                                618 Ensbrenner Drive
     __________________________________________                 Altoona, PA 16601, 37696 Ulster Drive,                         525,596.68
                                                                                                                              $__________________      2,525,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address                                 Ste 2
                                                                Rehoboth Beach, DE 19971, 1555 Mill Run
     125 Donald Lane
     ________________________________________________________
                                                                Road
     Johnstown, PA
     ________________________________________________________
                                                                Altoona, PA 16601

    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ■
             Yes. The relative priority of creditors is          Unliquidated
                                      2.2
                 specified on lines _____                        Disputed

2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     First Summit Bank
                                                                618 Ensbrenner Drive
                                                                Altoona, PA 16601, 37696 Ulster Drive,
     __________________________________________                                                                                949,416.47
                                                                                                                              $__________________       2,525,000.00
                                                                                                                                                      $_________________
                                                                Ste 2
     Creditor’s mailing address                                 Rehoboth Beach, DE 19971, 1555 Mill Run
                                                                Road
      125 Donald Lane
     ________________________________________________________   Altoona, PA 16601
      Johnstown, PA
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                 Unliquidated
                 specified on lines _____
                                     2.2                         Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
                                                                                                                                                               3 of ___
                                                                                                                                                                     7
               Case   23-70311-JAD Doc 1
                Muellers Auto Recycling & Sales, Inc.
                                                                    Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor            _______________________________________________________
                                                                   Document      Page 22 of Case
                                                                                             51 number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  7 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     First Summit Bank
                                                                618 Ensbrenner Drive
     __________________________________________                 Altoona, PA 16601, 37696 Ulster Drive,                         60,452.77
                                                                                                                              $__________________      2,525,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address                                 Ste 2
                                                                Rehoboth Beach, DE 19971, 1555 Mill Run
     125 Donald Lane
     ________________________________________________________
                                                                Road
     Johnstown, PA
     ________________________________________________________
                                                                Altoona, PA 16601

    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ■
             Yes. The relative priority of creditors is          Unliquidated
                                      2.2
                 specified on lines _____                        Disputed

2.__
  8 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     First Summit Bank
                                                                Mack Tractor
     __________________________________________                                                                                Unknown
                                                                                                                              $__________________       0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      125 Donald Lane
     ________________________________________________________

      Johnstown, PA
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

    
    ✔ No                                                         Yes
     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
                                                                                                                                                               4 of ___
                                                                                                                                                                     7
               Case   23-70311-JAD Doc 1
                Muellers Auto Recycling & Sales, Inc.
                                                                    Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor            _______________________________________________________
                                                                   Document      Page 23 of Case
                                                                                             51 number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  9 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     First Summit Bank
                                                                618 Ensbrenner Drive
     __________________________________________                 Altoona, PA 16601, 37696 Ulster Drive,                         165,797.46
                                                                                                                              $__________________      2,525,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address                                 Ste 2
                                                                Rehoboth Beach, DE 19971, 1555 Mill Run
     125 Donald Lane
     ________________________________________________________
                                                                Road
     Johnstown, PA 15904
     ________________________________________________________
                                                                Altoona, PA 16601

    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ■
             Yes. The relative priority of creditors is          Unliquidated
                                      2.2
                 specified on lines _____                        Disputed

2.__
  10 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      First Summit Bank
                                                                618 Ensbrenner Drive
                                                                Altoona, PA 16601, 37696 Ulster Drive,
     __________________________________________                                                                                455,536.59
                                                                                                                              $__________________       2,525,000.00
                                                                                                                                                      $_________________
                                                                Ste 2
     Creditor’s mailing address                                 Rehoboth Beach, DE 19971, 1555 Mill Run
                                                                Road
      125 Donald Lane
     ________________________________________________________   Altoona, PA 16601
      Johnstown, PA
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                 Unliquidated
                 specified on lines _____
                                     2.2                         Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
                                                                                                                                                               5 of ___
                                                                                                                                                                     7
               Case   23-70311-JAD Doc 1
                Muellers Auto Recycling & Sales, Inc.
                                                                     Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor            _______________________________________________________
                                                                    Document      Page 24 of Case
                                                                                              51 number (if known)_____________________________________
                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  11 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Ford Motor Credit
                                                                 2021 Ford F150
      __________________________________________                                                                                56,411.41
                                                                                                                               $__________________      0.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      P.O. Box 542000
      ________________________________________________________

      Omaha, NE 68154
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account                                     Agreement you made
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  12 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Valley National Bank
                                                                 2019 Mercedes
      __________________________________________                                                                                17,747.58
                                                                                                                               $__________________       30,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       P.O. Box 953
      ________________________________________________________

       Wayne, NJ 07474
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred            2019
                                      __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   0033
                              _________________                   Agreement you made
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

     
     ✔ No                                                         Yes
      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                                6 of ___
                                                                                                                                                                      7
            Case 23-70311-JAD                  Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53                                  Desc Main
                                                          Document      Page 25 of 51
Debtor
               Muellers Auto Recycling & Sales, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     McGrath & McCall, PC
     444 Liberty Avenue
     Four Gateway Center, Ste. 1040                                                                                    3
                                                                                                               Line 2. __                    _________________
     Pittsburgh, PA, 15222
     Shane C. Heberling, Esquire
     Parkowski, Guerke & Swayze, PA
     19354C Miller Road                                                                                                6
                                                                                                               Line 2. __                    _________________
     Rehoboth Beach, DE, 19971


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      7 of ___
                                                                                                                                                           7
                 Case 23-70311-JAD               Doc 1      Filed 09/08/23 Entered 09/08/23 15:28:53                                Desc Main
   Fill in this information to identify the case:          Document      Page 26 of 51

   Debtor
                    Muellers Auto Recycling & Sales, Inc.
                    __________________________________________________________________

                                           Western District of Pennsylvania
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                         amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
    
    ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           8,507.16                    8,507.16
    AASD Tax Office                                                                                                                  $_________________
                                                            Check all that apply.
    1201 8th Avenue                                          Contingent
    Altoona, PA, 16602                                       Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    2022 Business Privilege Tax
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 AASD Tax Office                                         As of the petition filing date, the claim is: $______________________
                                                                                                            1,044.00                   1,044.00
                                                                                                                                     $_________________
                                                            Check all that apply.
    1201 8th Avenue
    Altoona, PA, 16602                                       Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    22/23 Payroll Taxes
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           4,847.32                   4,847.32
    Altoona Area School District                                                                                                     $_________________
                                                            Check all that apply.
    Tax Office
                                                             Contingent
    1201 8th Avenue                                          Unliquidated
    Altoona, PA, 16602                                       Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    2023
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 14
                                                                                                                                           page 1 of ___
              Case   23-70311-JAD
               Muellers                           Doc 1
                        Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor         _______________________________________________________
                 Name                                     Document      Page 27 of Case
                                                                                    51 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                         8,202.22                  8,202.22
                                                                                                           $______________________   $_________________
      Blair County Tax Claim Bureau                        As of the petition filing date, the claim is:
      423 Allegheny Street, Ste. 143                       Check all that apply.
      Hollidaysburg, PA, 16648                              Contingent
                                                            Unliquidated
                                                            Disputed

        Date or dates debt was incurred                    Basis for the claim:
        22/23 Payroll Taxes
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  5
2.____ Priority creditor’s name and mailing address                                                         117,068.99                 117,068.99
                                                                                                           $______________________   $_________________
      Internal Revenue Service
                                                           As of the petition filing date, the claim is:
      P.O. Box 7346
                                                           Check all that apply.
      Philadelphia, PA, 19101
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        22/23  Payroll Taxes
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  6
2.____ Priority creditor’s name and mailing address                                                          2,184.23                  2,184.23
                                                                                                           $______________________   $_________________
      Logan Township Tax Collector                         As of the petition filing date, the claim is:
      100 Chief Logan Circle                               Check all that apply.
      Altoona, PA, 16602                                    Contingent
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        2023
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________
                    1437                                   Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  7
2.____ Priority creditor’s name and mailing address                                                        622.20
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       622.20
                                                                                                                                     $_________________
      Logan Township Tax Collector
                                                           Check all that apply.
      100 Chief Logan Circle
      Altoona, PA, 16602
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        2023
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
                                                                                                                                                 page __    14
             Case   23-70311-JAD
              Muellers                           Doc 1
                       Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor         _______________________________________________________
                 Name                                    Document      Page 28 of Case
                                                                                   51 number (if known)_____________________________________
 Pa rt 1 .   Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                        21,433.42                 21,433.42
                                                                                                          $______________________   $_________________
      Pennsylvania Department of Revenue                  As of the petition filing date, the claim is:
      P.O. Box 280431                                     Check all that apply.
      Harrisburg, PA, 17128-0431                           Contingent
                                                           Unliquidated
                                                           Disputed

       Date or dates debt was incurred                    Basis for the claim:
       22/23 Payroll Taxes
       _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
       Last 4 digits of account
       number      _______________________
                                                          Is the claim subject to offset?
       Specify Code subsection of PRIORITY unsecured
                                   8
       claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes

2.____ Priority creditor’s name and mailing address
                                                                                                          $______________________   $_________________
                                                          As of the petition filing date, the claim is:
                                                          Check all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
       Date or dates debt was incurred
       _________________________________                  _________________________________

       Last 4 digits of account
                                                          Is the claim subject to offset?
       number _______________________

       Specify Code subsection of PRIORITY unsecured
                                                           No
       claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

2.____ Priority creditor’s name and mailing address
                                                                                                          $______________________   $_________________
                                                          As of the petition filing date, the claim is:
                                                          Check all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
       Date or dates debt was incurred
       _________________________________                  _________________________________

       Last 4 digits of account
       number      _______________________                Is the claim subject to offset?

       Specify Code subsection of PRIORITY unsecured       No
       claim: 11 U.S.C. § 507(a) (_____)                   Yes

2.____ Priority creditor’s name and mailing address
                                                          As of the petition filing date, the claim is: $______________________     $_________________
                                                          Check all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
       Date or dates debt was incurred
                                                          _________________________________
       _________________________________

       Last 4 digits of account                           Is the claim subject to offset?
       number      _______________________

       Specify Code subsection of PRIORITY unsecured
                                                           No
       claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  3 of ___
                                                                                                                                                page __    14
             Case    23-70311-JAD
               Muellers                           Doc 1
                        Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor        _______________________________________________________
                Name                                      Document      Page 29 of Case
                                                                                    51 number (if known)_____________________________________
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Altoona Crane & Rigging                                                                                                  3,457.50
                                                                                                                           $________________________________
                                                                            Contingent
    4235 Sixth Avenue                                                       Unliquidated
    Altoona, PA, 16601                                                      Disputed
                                                                                                   Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Altoona Crane Rigging, Inc.                                            Check all that apply.                             3,457.50
                                                                                                                           $________________________________
    4235 Sixth Avenue                                                       Contingent
    Altoona, PA, 16602                                                      Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Services


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            0522
                                               __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Altoona Mirror                                                                                                           594.03
                                                                                                                           $________________________________
                                                                            Contingent
    P.O. Box 2008                                                           Unliquidated
    Altoona, PA, 16603                                                      Disputed
                                                                           Basis for the claim:
                                                                                                   Advertising

    Date or dates debt was incurred            2023
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            6580
                                               __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Blair County Chamber of Commerce                                       Check all that apply.
                                                                                                                             345.00
                                                                                                                           $________________________________
    3900 Industrial Park Drive                                              Contingent
    Suite 12                                                                Unliquidated
    Altoona, PA, 16602                                                      Disputed
                                                                            Basis for the claim:
                                                                                                   Membership Dues

    Date or dates debt was incurred            2/2023
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            733
                                               __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Blaise Nissan                                                                                                            3,494.12
                                                                                                                           $________________________________
                                                                           Check all that apply.
    10 Alexander Drive                                                      Contingent
    Muncy, PA, 17756                                                        Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            1/23/2023
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Borex, Inc.                                                                                                              5,678.89
                                                                                                                           $________________________________
                                                                           Check all that apply.
    128 Ingham Drive                                                        Contingent
    Altoona, PA, 16601                                                      Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:     Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                             No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   4 of ___
                                                                                                                                                  page __    14
              Case   23-70311-JAD
                Muellers                           Doc 1
                         Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor          _______________________________________________________
                  Name                                     Document      Page 30 of Case
                                                                                     51 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             7,600.00
                                                                                                                       $________________________________
 Chuck's PRP-NE Douglassville                                           Contingent
 6867 Boyertown Pike                                                    Unliquidated
 Douglassville, PA, 19518                                               Disputed
                                                                        Basis for the claim: Suppliers or Vendors



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          5/2023
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number         7788
                                                ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         13,152.00
                                                                                                                       $________________________________
 Clarence LLC/Slates Salvage LLC
 22380 Waterfall Road                                                   Contingent
                                                                        Unliquidated
 Three Springs, PA, 17264                                               Disputed
                                                                        Basis for the claim: Rent



        Date or dates debt was incurred         ___________________     Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Cunningham Bros. Auto Parts                                           Check all that apply.
                                                                                                                        6,100.00
                                                                                                                       $________________________________
 10980 Wards Road                                                       Contingent
 Rustburg, VA, 24588                                                    Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________
                                                2/2023                  Is the claim subject to offset?
        Last 4 digits of account number         __________________
                                                8804                   
                                                                       ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        53,270.62
                                                                                                                       $________________________________
 Cynthia A. Yeager, Esquire                                            Check all that apply.
 701 Logan Boulevard                                                    Contingent
 Altoona, PA, 16602                                                     Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Services



        Date or dates debt was incurred          2023
                                                ___________________     Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________     Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Dale Oxygen                                                           Check all that apply.
                                                                                                                         2,038.27
                                                                                                                       $________________________________
 146 Horner Street                                                      Contingent
 Johnstown, PA, 15902                                                   Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ____________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________     Yes



       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                5 of ___
                                                                                                                                              page __    14
              Case   23-70311-JAD
                Muellers                           Doc 1
                         Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor          _______________________________________________________
                  Name                                     Document      Page 31 of Case
                                                                                     51 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             18,042.61
                                                                                                                       $________________________________
 Discover                                                               Contingent
 P.O. Box 70176                                                         Unliquidated
 Philadelphia, PA, 19176                                                Disputed
                                                                        Basis for the claim: Suppliers or Vendors



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          2/2023
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number         9140
                                                ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         5,500.00
                                                                                                                       $________________________________
 E.P. Bender Coal
 198 S. Main Street                                                     Contingent
 Carrolltown, PA, 15722                                                 Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          2022
                                                ___________________     Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Earthmovers Unlimited, Inc.                                           Check all that apply.
                                                                                                                        58,000.00
                                                                                                                       $________________________________
 930 Old State Route 53                                                 Contingent
 Kylertown, PA, 16847                                                   Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________
                                                2020                    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        12,892.80
                                                                                                                       $________________________________
 Electric Motor & Supply, Inc.                                         Check all that apply.
 1000 50th Streeet                                                      Contingent
 Altoona, PA, 16601                                                     Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          2022/2023
                                                ___________________     Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________     Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Feezle Auto Wrecking                                                  Check all that apply.
                                                                                                                         800.00
                                                                                                                       $________________________________
 3064 Old Enon Unity Rd.                                                Contingent
 Enon Valley, PA, 16120                                                 Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          6/2022
                                                ____________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________
                                                1295                    Yes



       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                6 of ___
                                                                                                                                              page __    14
              Case   23-70311-JAD
                Muellers                           Doc 1
                         Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor          _______________________________________________________
                  Name                                     Document      Page 32 of Case
                                                                                     51 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             2,038.32
                                                                                                                       $________________________________
 Fender Mender Sales, Inc.                                              Contingent
 121 Halbritter Drive                                                   Unliquidated
 Altoona, PA, 16601                                                     Disputed
                                                                        Basis for the claim: Suppliers or Vendors



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          7/2023
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number         5825
                                                ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         3,339.00
                                                                                                                       $________________________________
 George's Trailers, Inc.
 148 Coupon/Gallitzin Road                                              Contingent
 Ashville, PA                                                           Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          7/2023
                                                ___________________     Is the claim subject to offset?
        Last 4 digits of account number         2666
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Good Tire Service                                                     Check all that apply.
                                                                                                                        11,961.69
                                                                                                                       $________________________________
 13616 State Route 422                                                  Contingent
 Kittanning, PA, 16201                                                  Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________     Is the claim subject to offset?
        Last 4 digits of account number         __________________
                                                5770                   
                                                                       ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        2,086.83
                                                                                                                       $________________________________
 Heller's Gas & Custom Made Fireplaces                                 Check all that apply.
 500 North Poplar Street                                                Contingent
 Berwick, PA, 18603                                                     Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          2/2023
                                                ___________________     Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________     Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 HUB Industrial Supply, LLC                                            Check all that apply.
                                                                                                                         241.80
                                                                                                                       $________________________________
 P.O. Box 3609                                                          Contingent
                                                                        Unliquidated
 Lake City, FL, 32056                                                   Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          6/2023
                                                ____________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________
                                                2918                    Yes



       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                7 of ___
                                                                                                                                              page __    14
              Case   23-70311-JAD
                Muellers                           Doc 1
                         Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor          _______________________________________________________
                  Name                                     Document      Page 33 of Case
                                                                                     51 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             377.18
                                                                                                                       $________________________________
 Hydraulic Solutions, Inc.                                              Contingent
 1301 East Bell Avenue                                                  Unliquidated
 Altoona, PA, 16602                                                     Disputed
                                                                        Basis for the claim: Services



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          6/2023
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number         4330
                                                ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         100,000.00
                                                                                                                       $________________________________
 John and Beverly Mueller
 37696 Ulster Drive                                                     Contingent
 Rehoboth Beach, DE, 19971                                              Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred          2022
                                                ___________________     Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Kegerreis Outdoor Advertising                                         Check all that apply.
                                                                                                                        7,561.50
                                                                                                                       $________________________________
 162 Farm Circle Drive                                                  Contingent
 Chambersburg, PA, 17201                                                Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Advertising



        Date or dates debt was incurred         ___________________     Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        1,643.74
                                                                                                                       $________________________________
 Mallows Hardware                                                      Check all that apply.
 311 E. 25th Avenue                                                     Contingent
 Altoona, PA, 16601                                                     Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          6/2023
                                                ___________________     Is the claim subject to offset?
                                                1615                
                                                                    ✔
                                                                      No
        Last 4 digits of account number         ___________________  Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Martin Oil                                                            Check all that apply.
                                                                                                                         4,812.39
                                                                                                                       $________________________________
 528 North First Street                                                 Contingent
 Bellwood, PA, 16617                                                    Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          9/2022
                                                ____________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________
                                                6038                    Yes



       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                8 of ___
                                                                                                                                              page __    14
              Case   23-70311-JAD
                Muellers                           Doc 1
                         Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor          _______________________________________________________
                  Name                                     Document      Page 34 of Case
                                                                                     51 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             8,296.01
                                                                                                                       $________________________________
 Matheson Valley Gases                                                  Contingent
 1004 N. Fourth Avenue, Juniata                                         Unliquidated
 Altoona, PA, 16601                                                     Disputed
                                                                        Basis for the claim: Suppliers or Vendors



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          8/4/2023
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number         5457
                                                ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         2,100.00
                                                                                                                       $________________________________
 McGhees Used Cars, Inc.
 913 4th Street                                                         Contingent
 Dudley, PA, 16634                                                      Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          6/2022
                                                ___________________     Is the claim subject to offset?
        Last 4 digits of account number         1295
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Miller, Kistler & Campbell                                            Check all that apply.
                                                                                                                        4,022.40
                                                                                                                       $________________________________
 720 South Atherton Street                                              Contingent
 State College, PA, 16801                                               Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Attorney Fees



        Date or dates debt was incurred         ___________________
                                                6/2023                  Is the claim subject to offset?
        Last 4 digits of account number         __________________
                                                n/a                    
                                                                       ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        735.00
                                                                                                                       $________________________________
 MSM Multimedia Sales & Marketing                                      Check all that apply.
 P.O. Box 5065                                                          Contingent
 Buffalo Grove, IL, 60089-5065                                          Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Advertising



        Date or dates debt was incurred          8/2022
                                                ___________________     Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________     Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 NAPA Auto Parts                                                       Check all that apply.
                                                                                                                         2,417.54
                                                                                                                       $________________________________
 P.O. Box 2047                                                          Contingent
 Norcross, GA, 30091                                                    Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          2022
                                                ____________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________
                                                0299                    Yes



       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                9 of ___
                                                                                                                                              page __    14
              Case   23-70311-JAD
                Muellers                           Doc 1
                         Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor          _______________________________________________________
                  Name                                     Document      Page 35 of Case
                                                                                     51 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             1,800.00
                                                                                                                       $________________________________
 Newcomers Truck Parts                                                  Contingent
 6405 Nunnery Road                                                      Unliquidated
 Waynesboro, PA, 17268                                                  Disputed
                                                                        Basis for the claim: Suppliers or Vendors



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          11/2022
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number         8603
                                                ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         19,234.90
                                                                                                                       $________________________________
 Reco Equipment
 41245 Reco Road                                                        Contingent
 Belmont, OH, 43718                                                     Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          11/2020
                                                ___________________     Is the claim subject to offset?
        Last 4 digits of account number         8704
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Reilly, Creppage & Co., Inc.                                          Check all that apply.
                                                                                                                        6,500.00
                                                                                                                       $________________________________
 601 Valley View Blvd.                                                  Contingent
 Altoona, PA, 16602                                                     Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Accounting Services



        Date or dates debt was incurred         ___________________
                                                2022/2023               Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        245.00
                                                                                                                       $________________________________
 Reliance Bank                                                         Check all that apply.
 1119 12th Street                                                       Contingent
 Altoona, PA, 16601                                                     Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Overdraft account



        Date or dates debt was incurred          7/31/2023
                                                ___________________     Is the claim subject to offset?
                                                2949                
                                                                    ✔
                                                                      No
        Last 4 digits of account number         ___________________  Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Rutters Fuel                                                          Check all that apply.
                                                                                                                         51,048.00
                                                                                                                       $________________________________
 1099 Haines Road                                                       Contingent
 York, PA, 17402                                                        Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Fuel



        Date or dates debt was incurred          2022
                                                ____________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________     Yes



       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                   10 of ___
                                                                                                                                                          14
              Case   23-70311-JAD
                Muellers                           Doc 1
                         Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor          _______________________________________________________
                  Name                                     Document      Page 36 of Case
                                                                                     51 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                           Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             12,816.34
                                                                                                                       $________________________________
 Saleme Insurance Services                                              Contingent
 1409 11th Avenue                                                       Unliquidated
 Altoona, PA, 16601                                                     Disputed
                                                                        Basis for the claim: General Liability Insurance



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          12/2022
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number         2778
                                                ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         1,500.00
                                                                                                                       $________________________________
 Seven Mountains Media, LLC
 160 W. Clearview Avenue                                                Contingent
 State College, PA, 16803                                               Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Advertising



        Date or dates debt was incurred          11/2022
                                                ___________________     Is the claim subject to offset?
        Last 4 digits of account number         1364
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Skyline Repair                                                        Check all that apply.
                                                                                                                        1,007.00
                                                                                                                       $________________________________
 1600 Skyline Drive                                                     Contingent
 Blandburg, PA, 16619                                                   Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Services



        Date or dates debt was incurred         ___________________
                                                2021                    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        2,494.66
                                                                                                                       $________________________________
 Spangler Scale Sales & Service, Inc.                                  Check all that apply.
 3690 Mill Road                                                         Contingent
 Duncansville, PA, 16635                                                Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Services



        Date or dates debt was incurred          6/2023
                                                ___________________     Is the claim subject to offset?
                                                7045                
                                                                    ✔
                                                                      No
        Last 4 digits of account number         ___________________  Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Staimans Recycling Corp.                                              Check all that apply.
                                                                                                                         18,500.00
                                                                                                                       $________________________________
 201 Hepburn Street                                                     Contingent
                                                                        Unliquidated
 Williamsport, PA, 17701                                                Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          2021
                                                ____________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________     Yes



       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                   11 of ___
                                                                                                                                                          14
              Case   23-70311-JAD
                Muellers                           Doc 1
                         Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
  Debtor          _______________________________________________________
                  Name                                     Document      Page 37 of Case
                                                                                     51 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             957.44
                                                                                                                       $________________________________
 The Crist Corporation                                                  Contingent
 1807 20th Avenue                                                       Unliquidated
 Altoona, PA, 16601                                                     Disputed
                                                                        Basis for the claim: Suppliers or Vendors



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number         7869
                                                ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         1,369.47
                                                                                                                       $________________________________
 TruckPro, LLC
 29787 Network Place                                                    Contingent
 Chicago, IL, 60673-1787                                                Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          7/2023
                                                ___________________     Is the claim subject to offset?
        Last 4 digits of account number         U007
                                                ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Universal Service Road                                                Check all that apply.
                                                                                                                        3,000.00
                                                                                                                       $________________________________
 595 E. Swedesford Road #350                                            Contingent
 Wayne, PA, 19087                                                       Unliquidated
                                                                        Disputed
                                                                        Basis for the claim: Bond



        Date or dates debt was incurred         ___________________
                                                2022                    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        1,250.00
                                                                                                                       $________________________________
 Weber Brothers Auto, Inc.                                             Check all that apply.
 1325 East Main Street                                                  Contingent
 Unit 1                                                                 Unliquidated
 Annville, PA, I17003-1612                                              Disputed
                                                                        Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred          2/2023
                                                ___________________     Is the claim subject to offset?
                                                124                 
                                                                    ✔
                                                                      No
        Last 4 digits of account number         ___________________  Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred         ____________________    Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number         ___________________     Yes



       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                   12 of ___
                                                                                                                                                          14
                 Case   23-70311-JAD
                  Muellers                           Doc 1
                           Auto Recycling & Sales, Inc.         Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
     Debtor         _______________________________________________________
                    Name                                       Document      Page 38 of Case
                                                                                         51 number (if known)_____________________________________
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Tucker Albin & Associates
4.1.      1702 N. Collins Blvd., Ste. 100                                                           3.11
                                                                                               Line _____
          Richardson, TX, 75080                                                                                                                 ________________
                                                                                                    Not listed. Explain:


4.2.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                              14
                                                                                                                                                                13 of ___
                                                                                                                                                           page __
            Case   23-70311-JAD
             Muellers                           Doc 1
                      Auto Recycling & Sales, Inc.       Filed 09/08/23 Entered 09/08/23 15:28:53 Desc Main
 Debtor        _______________________________________________________
               Name                                     Document      Page 39 of Case
                                                                                  51 number (if known)_____________________________________
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                             Total of claim amounts



5a. Total claims from Part 1                                                                     5a.
                                                                                                               163,909.54
                                                                                                             $_____________________________




5b. Total claims from Part 2                                                                     5b.    +      467,779.55
                                                                                                             $_____________________________




5c. Total of Parts 1 and 2                                                                                     631,689.09
                                                                                                  5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                     page __
                                                                                                                                           14 of ___
                                                                                                                                                  14
            Case 23-70311-JAD                  Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53                               Desc Main
                                                          Document      Page 40 of 51
 Fill in this information to identify the case:

             Muellers Auto Recycling & Sales, Inc.
 Debtor name __________________________________________________________________

                                         Western District of Pennsylvania
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Agreement                                        Team Ten, LLC
         State what the contract or    Lessee                                           dba American Eagle Paper Mills
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        1600 Pennsylvania Avenue
                                                                                        Tyrone, PA, 16686
         State the term remaining
         List the contract number of
         any government contract

                                       Article of Agreement                             David and Patricia Seymore
         State what the contract or    Lessee                                           473 Dysart Drive
 2.2     lease is for and the nature
         of the debtor’s interest                                                       Dysart, PA, 16636

         State the term remaining
         List the contract number of
         any government contract

                                       Equipment Lease                                  Clarence LLC/Slates Salvage LLC
         State what the contract or    Lessee                                           22380 Waterfall Road
 2.3     lease is for and the nature
         of the debtor’s interest                                                       Three Springs, PA, 17264

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
            Case 23-70311-JAD                   Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53                                 Desc Main
                                                           Document      Page 41 of 51
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Muellers Auto Recycling & Sales, Inc.

                                         Western District of Pennsylvania
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:
                                     618 Ensbrenner Drive
 2.1 John R. Mueller                                                                                     Ameriserve
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     Altoona, PA 16601
                                                                                                                                              E/F
                                                                                                                                              G




 2.2                                 618 Ensbrenner Drive
                                                                                                         First Summit Bank
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     Altoona, PA 16601
                                                                                                                                              E/F
       John R. Mueller                                                                                                                        G




 2.3                                 618 Ensbrenner Drive
                                     Altoona, PA 16601                                                    First Summit Bank
                                                                                                           _____________________             ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       John R. Mueller                                                                                                                        G



 2.4
                                     618 Ensbrenner Drive
                                     Altoona, PA 16601                                                   First Summit Bank
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       John R. Mueller                                                                                                                        G



 2.5                                 618 Ensbrenner Drive
                                     Altoona, PA 16601                                                   First Summit Bank
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       John R. Mueller                                                                                                                        G




 2.6                                 618 Ensbrenner Drive
                                                                                                         First Summit Bank
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     Altoona, PA 16601
                                                                                                                                              E/F
       John R. Mueller                                                                                                                        G




Official Form 206H                                               Schedule H: Codebtors                                                                    2
                                                                                                                                               page 1 of ___
            Case 23-70311-JAD              Doc 1      Filed 09/08/23 Entered 09/08/23 15:28:53                         Desc Main
               Muellers Auto Recycling & Sales, Inc. Document      Page 42 of 51
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___    John R. Mueller        618 Ensbrenner Drive                                        First Summit Bank
                                                                                                                              ✔ D
                                                                                                                              
                                 Altoona, PA 16601                                                                             E/F
                                                                                                                               G




   8
 2.___    John R. Mueller        618 Ensbrenner Drive                                        First Summit Bank
                                                                                                                              ✔ D
                                                                                                                              
                                 Altoona, PA 16601                                                                             E/F
                                                                                                                               G




   9
 2.___    John R. Mueller        618 Ensbrenner Drive                                        First Summit Bank                ✔ D
                                                                                                                              
                                 Altoona, PA 16601                                                                             E/F
                                                                                                                               G




   10
 2.___    John R. Mueller        618 Ensbrenner Drive                                        First Summit Bank                ✔ D
                                                                                                                              
                                 Altoona, PA 16601                                                                             E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       2 of ___
                                                                                                                                             2
Case 23-70311-JAD        Doc 1     Filed 09/08/23 Entered 09/08/23 15:28:53       Desc Main
                                  Document      Page 43 of 51



                              United States Bankruptcy Court
                                 Western District of Pennsylvania




         Muellers Auto Recycling & Sales, Inc.
In re:                                                           Case No.

                                                                 Chapter    11
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               09/08/2023                          /s/ John R. Mueller
Date:
                                                   Signature of Individual signing on behalf of debtor

                                                   President
                                                   Position or relationship to debtor
Case 23-70311-JAD                Doc 1    Filed 09/08/23 Entered 09/08/23 15:28:53      Desc Main
                                         Document      Page 44 of 51

AASD Tax Office                                         Cunningham Bros. Auto Parts
1201 8th Avenue                                         10980 Wards Road
Altoona, PA 16602                                       Rustburg, VA 24588


Altoona Area School District                            Cynthia A. Yeager, Esquire
Tax Office                                              701 Logan Boulevard
1201 8th Avenue                                         Altoona, PA 16602
Altoona, PA 16602

                                                        Dale Oxygen
Altoona Crane & Rigging                                 146 Horner Street
4235 Sixth Avenue                                       Johnstown, PA 15902
Altoona, PA 16601

                                                        David and Patricia Seymore
Altoona Crane Rigging, Inc.                             473 Dysart Drive
4235 Sixth Avenue                                       Dysart, PA 16636
Altoona, PA 16602

                                                        Discover
Altoona Mirror                                          P.O. Box 70176
P.O. Box 2008                                           Philadelphia, PA 19176
Altoona, PA 16603

                                                        E.P. Bender Coal
Ameriserve                                              198 S. Main Street
216 Franklin Street                                     Carrolltown, PA 15722
P.O. Box 520
Johnstown, PA 15907
                                                        Earthmovers Unlimited, Inc.
                                                        930 Old State Route 53
Blair County Chamber of Commerce                        Kylertown, PA 16847
3900 Industrial Park Drive
Suite 12
Altoona, PA 16602                                       Earthmovers Unlimited, Inc.


Blair County Tax Claim Bureau                           Electric Motor & Supply, Inc.
423 Allegheny Street, Ste. 143                          1000 50th Streeet
Hollidaysburg, PA 16648                                 Altoona, PA 16601


Blaise Nissan                                           Feezle Auto Wrecking
10 Alexander Drive                                      3064 Old Enon Unity Rd.
Muncy, PA 17756                                         Enon Valley, PA 16120


Borex, Inc.                                             Fender Mender Sales, Inc.
128 Ingham Drive                                        121 Halbritter Drive
Altoona, PA 16601                                       Altoona, PA 16601


Chuck's PRP-NE Douglassville                            First Summit Bank
6867 Boyertown Pike                                     125 Donald Lane
Douglassville, PA 19518                                 Johnstown, PA


Clarence LLC/Slates Salvage LLC                         First Summit Bank
22380 Waterfall Road                                    125 Donald Lane
Three Springs, PA 17264                                 Johnstown, PA 15904
Case 23-70311-JAD               Doc 1    Filed 09/08/23 Entered 09/08/23 15:28:53           Desc Main
                                        Document      Page 45 of 51

Ford Motor Credit                                      Martin Oil
P.O. Box 542000                                        528 North First Street
Omaha, NE 68154                                        Bellwood, PA 16617


George's Trailers, Inc.                                Matheson Valley Gases
148 Coupon/Gallitzin Road                              1004 N. Fourth Avenue, Juniata
Ashville, PA                                           Altoona, PA 16601


Good Tire Service                                      McGhees Used Cars, Inc.
13616 State Route 422                                  913 4th Street
Kittanning, PA 16201                                   Dudley, PA 16634


Heller's Gas & Custom Made Fireplaces                  McGrath & McCall, PC
500 North Poplar Street                                444 Liberty Avenue
Berwick, PA 18603                                      Four Gateway Center, Ste. 1040
                                                       Pittsburgh, PA 15222

HUB Industrial Supply, LLC
P.O. Box 3609                                          Miller, Kistler & Campbell
Lake City, FL 32056                                    720 South Atherton Street
                                                       State College, PA 16801

Hydraulic Solutions, Inc.
1301 East Bell Avenue                                  MSM Multimedia Sales & Marketing
Altoona, PA 16602                                      P.O. Box 5065
                                                       Buffalo Grove, IL 60089-5065

Internal Revenue Service
P.O. Box 7346                                          NAPA Auto Parts
Philadelphia, PA 19101                                 P.O. Box 2047
                                                       Norcross, GA 30091

John and Beverly Mueller
37696 Ulster Drive                                     Newcomers Truck Parts
Rehoboth Beach, DE 19971                               6405 Nunnery Road
                                                       Waynesboro, PA 17268

John R. Mueller
618 Ensbrenner Drive                                   Pennsylvania Department of Revenue
Altoona, PA 16601                                      P.O. Box 280431
                                                       Harrisburg, PA 17128-0431

Kegerreis Outdoor Advertising
162 Farm Circle Drive                                  Reco Equipment
Chambersburg, PA 17201                                 41245 Reco Road
                                                       Belmont, OH 43718

Logan Township Tax Collector
100 Chief Logan Circle                                 Reilly, Creppage & Co., Inc.
Altoona, PA 16602                                      601 Valley View Blvd.
                                                       Altoona, PA 16602

Mallows Hardware
311 E. 25th Avenue                                     Reliance Bank
Altoona, PA 16601                                      1119 12th Street
                                                       Altoona, PA 16601
Case 23-70311-JAD                 Doc 1    Filed 09/08/23 Entered 09/08/23 15:28:53   Desc Main
                                          Document      Page 46 of 51

Rutters Fuel                                             Valley National Bank
1099 Haines Road                                         P.O. Box 953
York, PA 17402                                           Wayne, NJ 07474


Saleme Insurance Services                                Weber Brothers Auto, Inc.
1409 11th Avenue                                         1325 East Main Street
Altoona, PA 16601                                        Unit 1
                                                         Annville, PA I17003-1612

Seven Mountains Media, LLC
160 W. Clearview Avenue
State College, PA 16803


Shane C. Heberling, Esquire
Parkowski, Guerke & Swayze, PA
19354C Miller Road
Rehoboth Beach, DE 19971


Skyline Repair
1600 Skyline Drive
Blandburg, PA 16619


Spangler Scale Sales & Service, Inc.
3690 Mill Road
Duncansville, PA 16635


Staimans Recycling Corp.
201 Hepburn Street
Williamsport, PA 17701


Team Ten, LLC
dba American Eagle Paper Mills
1600 Pennsylvania Avenue
Tyrone, PA 16686


The Crist Corporation
1807 20th Avenue
Altoona, PA 16601


TruckPro, LLC
29787 Network Place
Chicago, IL 60673-1787


Tucker Albin & Associates
1702 N. Collins Blvd., Ste. 100
Richardson, TX 75080


Universal Service Road
595 E. Swedesford Road #350
Wayne, PA 19087
        Case
     B2030    23-70311-JAD
           (Form 2030) (12/15)                 Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53                                     Desc Main
                                                          Document      Page 47 of 51

                                      United States Bankruptcy Court
                                                           Western District of Pennsylvania
                                               __________________________________
     In re Muellers Auto Recycling & Sales, Inc.
                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         15,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         200.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
  Case 23-70311-JAD                  Doc 1       Filed 09/08/23 Entered 09/08/23 15:28:53     Desc Main
 B2030 (Form 2030) (12/15)                      Document      Page 48 of 51
     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Adversary actions and additional work billed at standard hourly rate.
Case 23-70311-JAD       Doc 1    Filed 09/08/23 Entered 09/08/23 15:28:53                 Desc Main
                                Document      Page 49 of 51



                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       09/08/2023                        /s/ James R. Huff, II, 33270
     _____________________              _________________________________________
     Date                                      Signature of Attorney
                                         Forr, Stokan, Huff, Kormanski & Naugle
                                        _________________________________________
                                              ​Name of law firm
                                         1701 5th Ave
                                         Altoona, PA 16602
         Case 23-70311-JAD        Doc 1     Filed 09/08/23 Entered 09/08/23 15:28:53             Desc Main
                                           Document      Page 50 of 51
                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Muellers Auto Recycling & Sales, Inc.                                           11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 John R. Mueller                                             50                      President
 618 Ensbrenner Drive, Altoona, PA 16601




 Beverly L. Mueller                                          50                      Other (Secretary/Treasurer)
 618 Ensbrenner Drive, Altoona, PA 16601
          Case 23-70311-JAD                     Doc 1    Filed 09/08/23 Entered 09/08/23 15:28:53                               Desc Main
                                                        Document      Page 51 of 51
 Fill in this information to identify the case and this filing:

              Muellers Auto Recycling & Sales, Inc.
 Debtor Name __________________________________________________________________

                                         Western District of Pennsylvania
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔ Schedule H: Codebtors (Official Form 206H)

         
         ✔ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

         
         ✔ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    09/08/2023
        Executed on ______________                          /s/ John R. Mueller
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  John R. Mueller
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
